Case 3:14-cr-01236-KC Document184 _ Filed 05/20/24 Pageiof3

‘Prob 4#2A (9/06)
UNITED STATES DISTRICT COURT

for

WESTERN DISTRICT OF TEXAS

Report on Offender Under Supervision

Name of Offender: Enrique Alfredo Tavares aka Mask

Case Number: EP-14-CR-01236KC(2)

Name of Sentencing Judicial Officer: Kathleen Cardone, U.S. District Judge

Date of Original Sentence: June 8, 2017

Original Offense: Conspiracy to Possess with Intent to Distribute a Quantity of Heroin, 21 U.S.C. §

846 & § 841
Original Sentence: Sixty-three (63) months custody and three (3) years of supervised release

Type of Supervision: Supervised Release

Date Supervision Commenced: April 29, 2022
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PREVIOUS COURT ACTION

On January 29, 2018, the Court re-sentenced Tavares and amended the judgment to include a term of
imprisonment of fifty-five (55) months with credit for time served while in state custody pending transfer
to federal custody and three (3) years of supervised release.

On September 18, 2023, Tavares’ term of supervision was revoked due to failing to notify his probation
officer of law enforcement contact within 72 hours, submitting a drug test which rendered positive
results for amphetamines and cocaine, and failing to follow the rules and regulations of the Location
Monitoring Program. He was sentenced to time served (27 days) followed by three (3) years of
supervised release.

On February 29, 2024, Tavares’ term of supervision was revoked due to failing to attend services at
Aliviane, using a controlled substance to wit: cocaine, and failing to follow the instructions of his
probation officer. He was sentenced to time served (44 days) followed by two (2) years of supervised
release.

On April 9, 2024, a Report on Offender Under Supervision was submitted by the probation officer
notifying the Court that on March 21, 2024, Tavares submitted a urine sample that yielded positive
results for amphetamines. The probation officer recommended no further court action to allow Tavares
the opportunity to participate in a substance abuse treatment program. On April 10, 2024, the court
accepted the probation officer's recommendation, and no further court action was taken.
Case 3:14-cr-01236-KC Document184 Filed 05/20/24 Page 2of3

Enrique Alfredo Tavares aka Mask
Docket No. EP-14-CR-01236KC(2)
Report on Offender Under Supervision
Page|2

NONCOMPLIANCE SUMMARY
The offender has not complied with the following condition(s) of supervision:

Violation Number 1: The defendant must participate in a substance abuse treatment program and
follow the rules and regulations of that program. The program may include testing and examination
during and after program completion to determine if the defendant has reverted to the use of drugs.
The probation officer shall supervise the participation in the program (provider, location, modality,
duration, intensity, etc.) During treatment, the defendant must abstain from the use of alcohol and any
and all intoxicants. The defendant must pay the costs of such treatment if financially able.

Nature of Noncompliance: On April 12, 2024, Tavares submitted a urine sample that
yielded positive results for amphetamines. On April 23, 2024, this officer confronted
Tavares regarding his positive urine sample results, and he denied using amphetamines.
As such, this officer requested confirmation from the laboratory. Subsequently, on May 2,
2024, the laboratory confirmed the results for amphetamines. This officer confronted
Tavares regarding the laboratory confirmation results and Tavares still denied using
amphetamines.

U.S. Probation Officer Action:

The probation officer admonished Tavares for the new violation and reminded him of the possible
consequences of such non-compliance. To his credit, Tavares submitted a urine sample on April 25,
2024, that tested negative. As such, it is respectfully recommended that this new violation be held in
abeyance and that no further action be taken at this time to allow Tavares the opportunity to continue
to participate in an outpatient substance abuse treatment program to address his substance abuse
issues. Accordingly, any further violations will be communicated to the Court promptly.

Respectfully submitted, Approved by,
OPUS Del C Fag

Leobardo Moreno David C. Trejo

U.S. Probation Officer Supervising U.S. Probation Officer
Office (915) 585-5535 Office (915) 585-5576

Cellular (915) 202-5597 Cellular (915) 861-8369

Date: May 15, 2024
Case 3:14-cr-01236-KC Document184 _ Filed 05/20/24 Page3of3

Enriqué Alfrado Tavares aka Mask
Docket No. EP-14-CR-01236KC(2)
Report on Offender Under Supervision
Page |3

COURT ACTION RECOMMENDED:

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Concur with above action

No action

Submit a Petition for Warrant or Summons

Submit a Request for Modifying the Conditions or Term of Supervision

Other:

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Kafhleen Cardové, U.S. District Judge

May 20, 2024

Date
